    Case: 1:14-mc-00547 Document #: 4 Filed: 10/14/14 Page 1 of 2 PageID #:57




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

In the Matter of the Search of:                        tqrn 5q7
                                         No.          14 r\f, f grt
The Twitter accounts
@AhkTheBlackArab located at
www.twitter.com/ahktheblackarab,         Magistrate Judge Maria Valdez
@AbuF arriss located at
www.twitter. com/abufarriss, and         UNDER SEAL
@abothabetk located at
www.twitter.com/abothabetk, further
described in Attachment A

                                   ORDER

      The UNITED STATES OF AMERICA by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, having

moved this Court to Seal the Search Warrant, Application, and Affidavit, and

having demonstrated good cause in support of its motion, specifically, that

disclosure of the Search Warrant, Application, and Affidavit would jeopardize

the investigation by providing the subject of the investigation an opportunity

to destroy evidence or flee and jeopardize the investigation by disclosing the

details of facts known to investigators, the identities of witnesses, and the

investigative strategy.

      IT IS HEREBY ORDERED THAT the Search Warrant,                 Application,

and Affidavit be kept under seal for 60 days from the date of this Order, until

December 13, 2014.
    Case: 1:14-mc-00547 Document #: 4 Filed: 10/14/14 Page 2 of 2 PageID #:58




        THE COURT FURTHER FINDS that there is reason to believe that

notification of the existence of the warrant         will   seriously jeopardize the

investigation, including by causing flight from prosecution, causing the

destruction    of or   tampering   with   evidence,     and otherwise      seriously

jeopardizing the investigation. See 18 U.S.C.   S   2705(b).

        IT IS THEREFORE ORDERtrD under Title                18, United States Code,

Section 2705(b) that Twitter shall not disclose the existence of the warrant,

or this Order of the Court, to the listed subscriber or to any other person,

until   December 13, 2014, except      that Twitter may disclose the         search

warrant to an attorney for Twitter for the purpose of receiving legal advice.

        This Order does not prohibit law enforcement personnel from disclosing

the search warrant as necessary to facilitate the enforcement of criminal law,

including the execution of the warrant, or to any federal official to assist the

official receiving the information in the performance of that official's duties.

ENTER:




United States Magistrate Judge

DATE: October L4, 20L4
